                             WAIVER OF CONFLICT OF INTEREST



   I have been informed that a conflict of interest exists and that the Federal Defender's

   Office has decided that it must make an application to withdraw from my case, and can
   no longer represent me. This conflict did not result from anything related to my pending
   case, nor from any information I gave the Federal Defender's Office.


   I have been appointed a conflict free lawyer to advise me of my rights with respect to the
   current situation. Conflict free counsel has told me the nature of the conflict and the

   reason the Federal Defender's Office is applying to withdraw. Conflict free counsel has
   also told me that if I do not waive the conflict of interest, the Federal Defender's Office will
   be unable to represent either me or the other client. Conflict free counsel has answered
   any questions I had concerning this conflict.


   After meeting with conflict free counsel, I am waiving any objections I have to permitting
   the Federal Defender's Office to continue representing their other client. I waive any
   conflict of interest that now exists as a result of this situation. I understand that as a result

   of my waiver the Federal Defender's Office will continue to represent the other individual
   whose representation gave rise to this conflict in the first place.


   DATED:        June      ,2018




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   DATED:               L,
                 June M ,2018


                                                       DAVID ROTFIENgEf^G, ESQ.
                                                       Conflict Free Counsel




United States v. Richard Leon Wilbern
     17-CR-6016 and 17-CR-6017
